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                                                                                E-FILED
                                                    Thursday, 16 May, 2013 11:29:54 AM
                                                           Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                                PEORIA DIVISION

HOPE K. WILLIAMS; ANNIE GIBBS; OLIN    §
B. KICKLIGHTER, III; AND THE ESTATE OF §
OLIN B. KICKLIGHTER, JR., DECEASED,    §                 Civil Action
                                       §
                                       §
      Plaintiffs,                      §
                                       §                 JURY TRIAL DEMANDED
      v.                               §
                                       §
MARTIN FEENEY, INDIVIDUALLY AND        §
d/b/a FEENEY XPRESS TRANSPORT; and     §
BARY FRANKLIN, INDIVIDUALLY AND        §
d/b/a RANCHERO LLC,                    §
                                       §
      Defendants.                      §


                                 COMPLAINT AT LAW

       Plaintiffs Hope Kicklighter, Annie Rose Kicklighter, Olin Bradley Kicklighter, III,

and the Estate of Olin Bradley Kicklighter, Jr., Deceased, allege against Defendants

Martin Feeney, Individually and d/b/a Feeney Xpress Transport, Inc. and Bary

Franklin, Individually and d/b/a Ranchero LLC, as follows:

                                       A. PARTIES

       1.     Plaintiff, Hope Williams, is the natural daughter of Olin Bradley

Kicklighter, Jr. and is an individual that is a resident of the State of Georgia. Therefore,

she is a citizen of Georgia for purposes of diversity jurisdiction.
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         2.   Plaintiff Annie Gibbs is the natural daughter of Olin Bradley Kicklighter,

Jr. and is an individual that is a resident of the State of Georgia. Therefore, she is a

citizen of Georgia for purposes of diversity jurisdiction.

         3.   Plaintiff Olin Bradley Kicklighter, III is the natural son of Olin Bradley

Kicklighter, Jr. and is an individual that is a resident of the State of Georgia. Therefore,

he is a citizen of Georgia for purposes of diversity jurisdiction.

         4.   Olin Bradley Kicklighter, Jr., deceased, was a resident of California at the

time of his death.

         5.   Defendant, Martin R. Feeney (hereinafter “Mr. Feeney”), is an individual

who is a resident of the City of Bloomington, State of Illinois. Therefore, he is a citizen

of Illinois for the purpose of diversity jurisdiction. Mr. Feeney was the driver of one of

the trucks that struck Mr. Kicklighter. He may be served with process by serving him at

his place of work and/or residence at 2916 Ateppe Lane, Bloomington, Illinois 61704,

or such other location as he may be found.

         6.   Defendant Feeney Xpress Transport, Inc. (hereinafter “Feeney Xpress”) is

a corporation that is incorporated under the laws of the State of Illinois and has its

registered office in the City of Bloomington, State of Illinois. Therefore, it is a citizen of

Illinois for purposes of diversity jurisdiction.     Feeney Xpress may be served with

process by serving its registered agent for service of process, Martin R. Feeney, at 1507

E. Washington, Street, Suite 1, Bloomington, Illinois 61701, or his place of residence,

2916 Ateppe Lane, Bloomington, Illinois 61704, or such other location as he may be

found.


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       7.       Defendant Bary Franklin (hereinafter “Mr. Franklin”), is an individual

who is a resident of the State of Missouri. Therefore, he is a citizen of Missouri for the

purpose of diversity jurisdiction. Mr. Franklin was the driver of one of the trucks that

struck Mr. Kicklighter. He may be served with process by serving him at his place of

residence at 758 N. Olive, Mansfield, Missouri 65706, or such other location as he may

be found.

       8.       Defendant Ranchero LLC (hereinafter “Ranchero”) is a limited liability

company that is organized under the laws of the State of Missouri and has its principal

place of business in the State of Missouri. Therefore, it is a citizen of Missouri for

purposes of diversity jurisdiction. Ranchero may be served with process by serving its

registered agent for service of process, Hazel Burris, at 16 Olive Road, Buffalo,

Missouri 65622, or such other location as she may be found.

                                    B. JURISDICTION

       9.       This Court has subject matter jurisdiction over the lawsuit because the suit

arises under 28 U.S.C. § 1332(a)(1). Plaintiffs and Defendants are citizens of different

U.S. states, and the amount in controversy greatly exceeds $75,000.00, excluding interest

and costs.      Therefore, the Court has diversity jurisdiction pursuant to 28 U.S.C.

§ 1332(a)(1).

       10.      This Court has personal jurisdiction over Defendants Mr. Feeney and

Feeney Xpress because they are residents of Illinois. Specifically, Feeney Xpress is

incorporated under the laws of Illinois and maintains its principal place of business in




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Illinois; thus, the Court may properly maintain specific and general personal

jurisdiction over Defendants Mr. Feeney and Feeney Xpress.

       11.    Furthermore, as to the remainder of the Defendants, upon information

and belief, Plaintiffs plead that these defendants have intentional contacts with the State

of Illinois, both specific and general, such that maintenance of jurisdiction over these

Defendants comports with due process.

                                       C. VENUE

       12.    Mr. Feeney is an individual living in McLean County, Illinois and

therefore resides in this District. Feeney Xpress maintains its principal place of business

in McLean County, Illinois, and therefore resides in this District. Thus, venue is proper

in this District under 28 U.S.C. § 1391(b)(1).    Furthermore, venue is proper in this

Division because the Peoria Division embraces McLean County, Illinois.

                            D. CONDITIONS PRECEDENT

       13.    All conditions precedent, if any, have been satisfied, performed, occurred

or been waived.

                                        E. FACTS

       14.    On or about December 8, 2011, at approximately 11:16 p.m., Olin Bradley

Kicklighter, Jr. was traveling eastbound on Interstate 80 near mile marker 275 in the

passing lane. The tractor-trailer owned by Feeney Xpress and operated by Mr. Feeney

overtook the vehicle operated by Mr. Kicklighter at a speed faster that Mr. Feeney had

intended.    As admitted by Mr. Feeney and confirmed by the Nebraska trooper’s

accident reconstruction, Mr. Feeney was traveling at 55 m.p.h. Moreover, investigation



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by Nebraska law enforcement showed that Mr. Feeney was driving over the maximum

worktime allowed by § 395.3(a) of the Federal Motor Carrier Safety Regulations. A

review of Mr. Feeney’s logs confirmed that he falsified his logs in violation of § 395.8(e)

of the Federal Motor Carrier Safety Regulations.

       15.    Mr. Feeney was traveling this speed despite the fact that there was a

winter storm that had passed the area leaving several inches of snow that had started

melting causing the road surface to be very icy. When Mr. Feeney realized that he had

run up on Mr. Kicklighter’s vehicle, he attempted to avoid the accident by steering to

the left and into the median. However, his attempts to avoid the accident were not

successful, as he struck Mr. Kicklighter in the left rear corner of the trailer Mr.

Kicklighter was pulling behind his Ford Expedition.            The collision caused by

Mr. Feeney by striking Mr. Kicklighter’s vehicle from behind, caused Mr. Kicklighter to

lose control of his vehicle, which ultimately came to rest oriented north and south

across the passing lane of Interstate 80.

       16.    A second tractor-trailer owned by Ranchero and operated by Mr. Franklin

was following the Feeney Xpress tractor-trailer.        As stated by Mr. Franklin and

confirmed by the Nebraska trooper’s accident reconstruction, Mr. Franklin was

traveling at 50 m.p.h.

       17.    Mr. Franklin was traveling this speed despite the fact that there was a

winter storm that had passed the area leaving several inches of snow that had started

melting causing the road surface to be very icy. As admitted by Mr. Franklin, he was

traveling approximately 200 to 300 yards behind the truck operated by Mr. Feeney


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when he observed a large amount of dirt and snow enter the air from the Feeney Xpress

truck as it entered the median. Mr. Franklin then admitted that, instead of taking

evasive action, he elected to entered the plume of snow and dirt, which resulted in his

striking Mr. Kicklighter’s vehicle.

       18.    As a result of being struck by one or both of these trucks, Mr. Kicklighter

suffered injuries causing his death.

       19.    While operating the tractor-trailer, Mr. Feeney was in the course and

scope of his employment for Feeney Xpress and was operating with the express consent

of Feeney Xpress.

       20.    While operating the tractor-trailer, Mr. Franklin was in the course and

scope of his employment for Ranchero and was operating with the express consent of

Ranchero.

               COUNT I – NEGLIGENCE SURVIVAL ACTION AS TO
                      MR. FEENEY AND FEENEY XPRESS

       21.    Now comes Plaintiff Hope Kicklighter Individually and as Next Best

Friend of the Estate of Olin Bradley Kicklighter, Jr., deceased, by and through her

attorneys of record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh,

and complaining against Defendants Mr. Feeney and Feeney Xpress states as follows:

       22.    In the operation of the tractor-trailer, Mr. Feeney was negligent in at least

the following respects:

                 a) Failing to keep a proper lookout;
                 b) Failing to operate the tractor-trailer in a reasonable and prudent
                    manner;
                 c) Failing to maintain attention while operating the tractor-trailer;


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                   d) Operating the tractor-trailer in a reckless manner;
                   e) Failing to control speed;
                   f) Failing to yield the right of way;
                   g) Failing to get adequate rest;
                   h) Operating a tractor-trailer while fatigued;
                   i) Failing to take proper evasive action to avoid striking Mr.
                      Kicklighter;
                   j) Operating the tractor-trailer with faulty or malfunctioning
                      equipment;
                   k) Operating a vehicle in violation of §395.3(a)(a)(2) of the Federal
                      Motor Carrier Safety Regulations; and
                   l) Falsifying his logbooks in violation of §395.8(e) of the Federal
                      Motor Carrier Safety Regulations.

      23.     Each of the above acts and/or omissions were breaches of a duty to act as

a reasonably prudent driver under the same or similar circumstances, and each

constitutes negligence and are a proximate cause of Plaintiffs damages.

      24.     The tractor-trailer driver, Mr. Feeney, is alleged at material times hereto to

have been an employee, agent, representative and/or servant of Feeney Xpress.

Therefore, under doctrines of respondeat superior, agency, and vicarious liability,

Feeney Xpress is responsible for the negligence of its driver Mr. Feeney. Alternatively,

Feeney Xpress is responsible for the negligence of tractor-trailer driver Mr. Feeney

pursuant to 49 C.F.R. 1057 and various other provisions of the Federal Motor Carrier

Safety Act.

      25.     Defendant Feeney Xpress was negligent by and through the acts and

omissions of its agents, servants, and employees in at least the following respects:

              a)        Failing to properly train its driver(s);
              b)        Failing to establish an adequate safety program to monitor its
                        driver(s);
              c)        Failing to adequately supervise its driver(s);
              d)        Failing to properly qualify its driver(s);


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             e)     Failing to establish adequate policies and procedures to adequately
                    enforce policies for its driver(s); and
             f)     Violating the Federal Motor Carrier Safety Act and its regulations.

      26.     Defendant Feeney Xpress was further negligent in the hiring, retention,

supervision of driver Mr. Feeney, who was incompetent to operate a tractor-trailer.

Defendant Feeney Xpress was further negligent in the entrustment of the subject

tractor-trailer. Defendant Feeney Xpress had full and actual knowledge that Feeney

was incompetent to operate a tractor-trailer, or through the operation of ordinary

prudence would have discovered such incompetence.

      27.    As a direct and proximate result of one or more of the above and

foregoing willful and wanton acts and omissions of the Defendants Mr. Feeney and

Feeney Xpress, as set forth herein, Olin Bradley Kicklighter, Jr., deceased, sustained

injuries of a personal, pecuniary, and permanent nature and was injured, both

physically and mentally, and has suffered before his death great physical and emotional

pain and discomfort, and physical and emotional impairment and disability, all of

which ultimately resulted in his death. Olin Bradley Kicklighter, Jr., deceased, prior to

his death, experienced pain and suffering, and disability and disfigurement.         Olin

Bradley Kicklighter, Jr., deceased further incurred reasonable and necessary medical,

funeral and burial expenses.

      28.    This action is brought pursuant to the Illinois Survival Statute, 755 ILCS

5/27-6.

      WHEREFORE Plaintiff Hope Kicklighter, Individually and as Next Best Friend of

the Estate of Olin Bradley Kicklighter, Jr., deceased, by and through her attorneys of


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record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh, prays for

judgment against Defendants Mr. Feeney and Feeney Xpress, in a dollar amount

sufficient to satisfy the jurisdictional limitations of this Court and such additional

amounts as the Court and Jury shall deem proper for compensatory damages, plus the

costs of this lawsuit.

               COUNT II – NEGLIGENCE WRONGFUL DEATH AS TO
                       MR. FEENEY AND FEENEY XPRESS

       29.    Now comes Plaintiff Hope Kicklighter Individually and as Next Best

Friend of the Estate of Olin Bradley Kicklighter, Jr., deceased by and through her

attorneys of record, Bellas & Wachowski and Sico, White, Hoelscher & Braugh, and

complaining against Defendants Mr. Feeney and Feeney Xpress states as follows:

       30.    Plaintiff Hope Kicklighter Individually and as Next Best Friend of the

Estate of Olin Bradley Kicklighter, Jr., deceased adopts and realleges paragraphs 14-20

and incorporates them by reference fully set forth herein.

       31.    That as a direct and proximate result thereof, Olin Bradley Kicklighter, Jr.,

deceased, sustained injuries to his person which ultimately resulted in his death on

December 8, 2011.

       32.    Olin Bradley Kicklighter, Jr., deceased left surviving him the following

heirs at law: Hope Kicklighter, daughter, Annie Rose Kicklighter, daughter, Olin

Bradley Kicklighter, III, son.

       33.    That as a result of the negligent acts and/or omissions of Mr. Feeney and

Feeney Xpress, the aforesaid next of kin of Olin Bradley Kicklighter, Jr.'s have all




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sustained great loss of a personal and pecuniary nature, including the loss of society,

companionship, love and affection.

       34.     This action is brought pursuant to Chapter 740, Illinois Compiled Statutes

Annotated, '180/1, et seq., commonly referred to as the “Wrongful Death Act”.

       WHEREFORE, Plaintiff, Hope Kicklighter Individually and as Next Best Friend

of the Estate of Olin Bradley Kicklighter, Jr., deceased by and through her attorneys of

record, Bellas & Wachowski and Sico, White, Hoelscher & Braugh, prays for judgment

against the Defendant, Defendants Mr. Feeney and Feeney Xpress, in a dollar amount

sufficient to satisfy the jurisdictional limitations of this Court and such additional

amounts as the Court and Jury shall deem proper for compensatory damages, plus the

costs of this lawsuit.


               COUNT III – NEGLIGENCE SURVIVAL ACTION AS TO
                       MR. FRANKLIN AND RANCHERO

       35.    Now comes Plaintiff Hope Kicklighter Individually and as Next Best

Friend of the Estate of Olin Bradley Kicklighter, Jr., deceased by and through her

attorneys of record, Bellas & Wachowski and Sico, White, Hoelscher & Braugh, and

complaining against Defendants Mr. Franklin and Ranchero states as follows:

       36.    In the operation of the tractor-trailer, Defendant Mr. Franklin and

Ranchero was negligent in at least the following respects:

                  a) Failing to keep a proper lookout;
                  b) Failing to operate the tractor-trailer in a reasonable and prudent
                     manner;
                  c) Failing to maintain attention while operating the tractor-trailer;
                  d) Operating the tractor-trailer in a reckless manner;


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                   e) Failing to control speed;
                   f) Failing to yield the right of way; and
                      Failing to take proper evasive action to avoid striking Mr.
                      Kicklighter.

       37.    Each of the above acts and/or omissions were breaches of a duty to act as

a reasonably prudent driver under the same or similar circumstances, and each

constitutes negligence and are a proximate cause of Plaintiffs damages.

       38.    The tractor-trailer driver, Mr. Franklin, is alleged at material times hereto

to have been an employee, agent, representative and/or servant of Ranchero. Therefore,

under doctrines of respondeat superior, agency, and vicarious liability, Ranchero is

responsible for the negligence of its driver Mr. Franklin. Alternatively, Ranchero is

responsible for the negligence of tractor-trailer driver Mr. Franklin pursuant to 49 C.F.R.

1057 and various other provisions of the Federal Motor Carrier Safety Act.

       39.    As a direct and proximate result of such acts and/or omissions

constituting negligence, Mr. Kicklighter sustained injuries to his person, including but

not limited to extreme pain and suffering, ultimately causing his death. Furthermore,

As a direct and proximate result of such acts and/or omissions constituting negligence

all other Plaintiffs have incurred mental anguish, loss of consortium in the past and will

incur them in the future.

       40.    Defendant Ranchero was negligent by and through the acts and omissions

of its agents, servants, and employees in at least the following respects:

              a)     Failing to properly train its driver(s);
              b)     Failing to establish an adequate safety program to monitor its
                     driver(s);
              c)     Failing to adequately supervise its driver(s);


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                 d)     Failing to properly qualify its driver(s);
                 e)     Failing to establish adequate policies and procedures to adequately
                        enforce policies for its driver(s); and
                 f)     Violating the Federal Motor Carrier Safety Act and its regulations.

           41.   Defendant Ranchero was further negligent in the hiring, retention, and

supervision of driver Mr. Franklin, who was incompetent to operate a tractor-trailer.

Defendant Ranchero was further negligent in the entrustment of the subject tractor-

trailer.     Defendant Ranchero had full and actual knowledge that Mr. Franklin was

incompetent to operate a tractor-trailer, or through the operation of ordinary prudence

would have discovered such incompetence.

           42.   As a direct and proximate result of one or more of the above and

foregoing willful and wanton acts and omissions of Defendants Mr. Franklin and

Ranchero, as set forth herein, Olin Bradley Kicklighter, Jr., deceased, sustained injuries

of a personal, pecuniary, and permanent nature and was injured, both physically and

mentally, and has suffered before his death great physical and emotional pain and

discomfort, and physical and emotional impairment and disability, all of which

ultimately resulted in his death. Olin Bradley Kicklighter, Jr., deceased, prior to his

death, experienced pain and suffering, and disability and disfigurement. Olin Bradley

Kicklighter, Jr., deceased further incurred reasonable and necessary medical, funeral

and burial expenses.

           43.   This action is brought pursuant to the Illinois Survival Statute, 755 ILCS

5/27-6.




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       WHEREFORE, Plaintiff Hope Kicklighter, Individually and as Next Best Friend

of the Estate of Olin Bradley Kicklighter, Jr., deceased, by and through her attorneys of

record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh, prays for

judgment against Defendants Mr. Franklin and Ranchero, in a dollar amount sufficient

to satisfy the jurisdictional limitations of this Court and such additional amounts as the

Court and Jury shall deem proper for compensatory damages, plus the costs of this

lawsuit.

                COUNT IV – NEGLIGENCE WRONGFUL DEATH AS TO
                        MR. FRANKLIN AND RANCHERO

       44.      Now comes Plaintiff Hope Kicklighter Individually and as Next Best

Friend of the Estate of Olin Bradley Kicklighter, Jr., deceased, by and through her

attorneys of record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh,

and complaining against Defendants Mr. Franklin and Ranchero states as follows:

       45.      Plaintiff Hope Kicklighter Individually and as Next Best Friend of the

Estate of Olin Bradley Kicklighter, Jr., deceased adopts and realleges paragraphs 14-20

of Count II, and incorporates them by reference fully set forth herein.

       46.      That as a direct and proximate result thereof, Olin Bradley Kicklighter, Jr.,

deceased, sustained injuries to his person which ultimately resulted in his death on

December 8, 2011.

       47.      Olin Bradley Kicklighter, Jr., deceased, left surviving him the following

heirs at law:     Hope Kicklighter, daughter; Annie Rose Kicklighter, daughter; Olin

Bradley Kicklighter, III, son.




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      48.    That as a result of the negligent acts and/or omissions of Defendants

Mr. Franklin and Ranchero, the aforesaid next of kin of Olin Bradley Kicklighter, Jr.

have all sustained great loss of a personal and pecuniary nature, including the loss of

society, companionship, love, and affection.

      49.     This action is brought pursuant to Chapter 740, Illinois Compiled Statutes

Annotated, '180/1, et seq., commonly referred to as the “Wrongful Death Act”.

      WHEREFORE, Plaintiff, Hope Kicklighter Individually and as Next Best Friend

of the Estate of Olin Bradley Kicklighter, Jr., deceased, by and through her attorneys of

record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh, prays for

judgment against the Defendant, Defendants Mr. Franklin and Ranchero, in a dollar

amount sufficient to satisfy the jurisdictional limitations of this Court and such

additional amounts as the Court and Jury shall deem proper for compensatory

damages, plus the costs of this lawsuit.

               COUNT V– NEGLIGENCE SURVIVAL ACTION AS TO
                      MR. FEENEY AND FEENEY XPRESS

      50.    Now comes Plaintiff Annie Rose Kicklighter, by and through her

attorneys of record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh,

and complaining against Defendants Mr. Feeney and Feeney Xpress states as follows:

      51.    In the operation of the tractor-trailer, Mr. Feeney was negligent in at least

the following respects:

                 a) Failing to keep a proper lookout;
                 b) Failing to operate the tractor-trailer in a reasonable and prudent
                    manner;
                 c) Failing to maintain attention while operating the tractor-trailer;


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                   d) Operating the tractor-trailer in a reckless manner;
                   e) Failing to control speed;
                   f) Failing to yield the right of way;
                   g) Failing to get adequate rest;
                   h) Operating a tractor-trailer while fatigued;
                   i) Failing to take proper evasive action to avoid striking Mr.
                      Kicklighter;
                   j) Operating the tractor-trailer with faulty or malfunctioning
                      equipment;
                   k) Operating a vehicle in violation of §395.3(a)(a)(2) of the Federal
                      Motor Carrier Safety Regulations; and
                   l) Falsifying his logbooks in violation of §395.8(e) of the Federal
                      Motor Carrier Safety Regulations.

       52.    Each of the above acts and/or omissions were breaches of a duty to act as

a reasonably prudent driver under the same or similar circumstances, and each

constitutes negligence and are a proximate cause of Plaintiffs’ damages.

       53.    The tractor-trailer driver, Mr. Feeney, is alleged at material times hereto to

have been an employee, agent, representative and/or servant of Feeney Xpress.

Therefore, under doctrines of respondeat superior, agency, and vicarious liability,

Feeney Xpress is responsible for the negligence of its driver Mr. Feeney. Alternatively,

Feeney Xpress is responsible for the negligence of tractor-trailer driver Mr. Feeney

pursuant to 49 C.F.R. 1057 and various other provisions of the Federal Motor Carrier

Safety Act.

       54.    Defendant Feeney Xpress was negligent by and through the acts and

omissions of its agents, servants, and employees in at least the following respects:

              a)        Failing to properly train its driver(s);
              b)        Failing to establish an adequate safety program to monitor its
                        driver(s);
              c)        Failing to adequately supervise its driver(s);
              d)        Failing to properly qualify its driver(s);


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             e)     Failing to establish adequate policies and procedures to adequately
                    enforce policies for its driver(s); and
             f)     Violating the Federal Motor Carrier Safety Act and its regulations.

      55.     Defendant Feeney Xpress was further negligent in the hiring, retention,

supervision of driver Mr. Feeney, who was incompetent to operate a tractor-trailer.

Defendant Feeney Xpress was further negligent in the entrustment of the subject

tractor-trailer. Defendant Feeney Xpress had full and actual knowledge that Mr. Feeney

was incompetent to operate a tractor-trailer, or through the operation of ordinary

prudence would have discovered such incompetence.

      56.    As a direct and proximate result of one or more of the above and

foregoing willful and wanton acts and omissions of the Defendants Mr. Feeney and

Feeney Xpress, as set forth herein, Olin Bradley Kicklighter, Jr., deceased, sustained

injuries of a personal, pecuniary, and permanent nature and was injured, both

physically and mentally, and has suffered before his death great physical and emotional

pain and discomfort, and physical and emotional impairment and disability, all of

which ultimately resulted in his death. Olin Bradley Kicklighter, Jr., deceased, prior to

his death, experienced pain and suffering, and disability and disfigurement.         Olin

Bradley Kicklighter, Jr., deceased, further incurred reasonable and necessary medical,

funeral and burial expenses.

      57.    This action is brought pursuant to the Illinois Survival Statute, 755 ILCS

5/27-6.

      WHEREFORE, Plaintiff Annie Rose Kicklighter, by and through her attorneys of

record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh, prays for


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judgment against Defendants Mr. Feeney and Feeney Xpress, in a dollar amount

sufficient to satisfy the jurisdictional limitations of this Court and such additional

amounts as the Court and Jury shall deem proper for compensatory damages, plus the

costs of this lawsuit.

                COUNT VI – NEGLIGENCE WRONGFUL DEATH AS TO
                       MR. FEENEY AND FEENEY XPRESS

       58.      Now comes Plaintiff Annie Rose Kicklighter by and through her attorneys

of record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh, and

complaining against Defendants Mr. Feeney and Feeney Xpress states as follows:

       59.      Plaintiff Annie Rose Kicklighter adopts and realleges paragraphs 14-20

and incorporates them by reference fully set forth herein.

       60.      That as a direct and proximate result thereof, Olin Bradley Kicklighter, Jr.,

deceased, sustained injuries to his person which ultimately resulted in his death on

December 8, 2011.

       61.      Olin Bradley Kicklighter, Jr., deceased left surviving him the following

heirs at law:     Hope Kicklighter, daughter; Annie Rose Kicklighter, daughter; Olin

Bradley Kicklighter, III, son.

       62.      That as a result of the negligent acts and/or omissions of Mr. Feeney and

Feeney Xpress, the aforesaid next of kin of Olin Bradley Kicklighter, Jr. have all

sustained great loss of a personal and pecuniary nature, including the loss of society,

companionship, love and affection.




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       63.    This action is brought pursuant to Chapter 740, Illinois Compiled Statutes

Annotated, '180/1, et seq., commonly referred to as the “Wrongful Death Act”.

       WHEREFORE, Plaintiff Annie Rose Kicklighter, by and through her attorneys of

record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh, prays for

judgment against Defendants Mr. Feeney and Feeney Xpress, in a dollar amount

sufficient to satisfy the jurisdictional limitations of this Court and such additional

amounts as the Court and Jury shall deem proper for compensatory damages, plus the

costs of this lawsuit.

              COUNT VII – NEGLIGENCE SURVIVAL ACTION AS TO
                      MR. FRANKLIN AND RANCHERO

       64.    Now comes Plaintiff Annie Rose Kicklighter, by and through her

attorneys of record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh,

and complaining against Defendants Mr. Franklin and Ranchero states as follows:

       65.    In the operation of the tractor-trailer, Defendant Mr. Franklin and

Ranchero was negligent in at least the following respects:

                  a) Failing to keep a proper lookout;
                  b) Failing to operate the tractor-trailer in a reasonable and prudent
                     manner;
                  c) Failing to maintain attention while operating the tractor-trailer;
                  d) Operating the tractor-trailer in a reckless manner;
                  e) Failing to control speed;
                  f) Failing to yield the right of way; and
                  g) Failing to take proper evasive action to avoid striking Mr.
                     Kicklighter.




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       66.    Each of the above acts and/or omissions were breaches of a duty to act as

a reasonably prudent driver under the same or similar circumstances, and each

constitutes negligence and are a proximate cause of Plaintiffs damages.

       67.    The tractor-trailer driver, Mr. Franklin, is alleged at material times hereto

to have been an employee, agent, representative and/or servant of Ranchero. Therefore,

under doctrines of respondeat superior, agency, and vicarious liability, Ranchero is

responsible for the negligence of its driver Mr. Franklin. Alternatively, Ranchero is

responsible for the negligence of tractor-trailer driver Mr. Franklin pursuant to 49 C.F.R.

1057 and various other provisions of the Federal Motor Carrier Safety Act.

       68.    As a direct and proximate result of such acts and/or omissions

constituting negligence, Mr. Kicklighter sustained injuries to his person, including but

not limited to extreme pain and suffering, ultimately causing his death. Furthermore,

As a direct and proximate result of such acts and/or omissions constituting negligence

all other Plaintiffs have incurred mental anguish, loss of consortium in the past and will

incur them in the future.

       69.    Defendant Ranchero was negligent by and through the acts and omissions

of its agents, servants, and employees in at least the following respects:

              a)     Failing to properly train its driver(s);
              b)     Failing to establish an adequate safety program to monitor its
                     driver(s);
              c)     Failing to adequately supervise its driver(s);
              d)     Failing to properly qualify its driver(s);
              e)     Failing to establish adequate policies and procedures to adequately
                     enforce policies for its driver(s); and
              f)     Violating the Federal Motor Carrier Safety Act and its regulations.




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      70.     Defendant Ranchero was further negligent in the hiring, retention, and

supervision of driver Mr. Franklin, who was incompetent to operate a tractor-trailer.

Defendant Ranchero was further negligent in the entrustment of the subject tractor-

trailer. Defendant Ranchero had full and actual knowledge that Mr. Franklin was

incompetent to operate a tractor-trailer, or through the operation of ordinary prudence

would have discovered such incompetence.

      71.    As a direct and proximate result of one or more of the above and

foregoing willful and wanton acts and omissions of Defendants Mr. Franklin and

Ranchero, as set forth herein, Olin Bradley Kicklighter, Jr., deceased, sustained injuries

of a personal, pecuniary, and permanent nature and was injured, both physically and

mentally, and has suffered before his death great physical and emotional pain and

discomfort, and physical and emotional impairment and disability, all of which

ultimately resulted in his death. Olin Bradley Kicklighter, Jr., deceased, prior to his

death, experienced pain and suffering, and disability and disfigurement. Olin Bradley

Kicklighter, Jr., deceased further incurred reasonable and necessary medical, funeral

and burial expenses.

      72.    This action is brought pursuant to the Illinois Survival Statute, 755 ILCS

5/27-6.

      WHEREFORE, Plaintiff Annie Rose Kicklighter, by and through her attorneys of

record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh, prays for

judgment against Defendants Mr. Franklin and Ranchero, in a dollar amount sufficient

to satisfy the jurisdictional limitations of this Court and such additional amounts as the


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Court and Jury shall deem proper for compensatory damages, plus the costs of this

lawsuit.

             COUNT VIII – NEGLIGENCE WRONGFUL DEATH AS TO
                      MR. FRANKLIN AND RANCHERO

       73.      Now comes Plaintiff Annie Rose Kicklighter, by and through her

attorneys of record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh,

and complaining against Defendants Mr. Franklin and Ranchero states as follows:

       74.      Plaintiff Annie Rose Kicklighter adopts and realleges paragraphs 14-20 of

Count II, and incorporates them by reference fully set forth herein.

       75.      That as a direct and proximate result thereof, Olin Bradley Kicklighter, Jr.,

deceased, sustained injuries to his person which ultimately resulted in his death on

December 8, 2011.

       76.      Olin Bradley Kicklighter, Jr., deceased, left surviving him the following

heirs at law:     Hope Kicklighter, daughter; Annie Rose Kicklighter; daughter, Olin

Bradley Kicklighter, III, son.

       77.      That as a result of the negligent acts and/or omissions of Defendants

Mr. Franklin and Ranchero, the aforesaid next of kin of Olin Bradley Kicklighter, Jr.

have all sustained great loss of a personal and pecuniary nature, including the loss of

society, companionship, love and affection.

       78.      This action is brought pursuant to Chapter 740, Illinois Compiled Statutes

Annotated, '180/1, et seq., commonly referred to as the “Wrongful Death Act”.




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      WHEREFORE, Plaintiff Annie Rose Kicklighter, by and through her attorneys of

record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh, prays for

judgment against Defendants Mr. Franklin and Ranchero, in a dollar amount sufficient

to satisfy the jurisdictional limitations of this Court and such additional amounts as the

Court and Jury shall deem proper for compensatory damages, plus the costs of this

lawsuit.

              COUNT IX– NEGLIGENCE SURVIVAL ACTION AS TO
                     MR. FEENEY AND FEENEY XPRESS

      79.    Now comes Plaintiff Olin Bradley Kicklighter, III, deceased by and

through his attorneys of record, Bellas & Wachowski and Sico, White, Hoelscher, Harris

& Braugh, and complaining against Defendants Mr. Feeney and Feeney Xpress states as

follows:

      80.    In the operation of the tractor-trailer, Mr. Feeney was negligent in at least

the following respects:

                 a) Failing to keep a proper lookout;
                 b) Failing to operate the tractor-trailer in a reasonable and prudent
                    manner;
                 c) Failing to maintain attention while operating the tractor-trailer;
                 d) Operating the tractor-trailer in a reckless manner;
                 e) Failing to control speed;
                 f) Failing to yield the right of way;
                 g) Failing to get adequate rest;
                 h) Operating a tractor-trailer while fatigued;
                 i) Failing to take proper evasive action to avoid striking Mr.
                    Kicklighter;
                 j) Operating the tractor-trailer with faulty or malfunctioning
                    equipment;
                 k) Operating a vehicle in violation of §395.3(a)(a)(2) of the Federal
                    Motor Carrier Safety Regulations; and




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                   l) Falsifying his logbooks in violation of §395.8(e) of the Federal
                      Motor Carrier Safety Regulations.

      81.     Each of the above acts and/or omissions were breaches of a duty to act as

a reasonably prudent driver under the same or similar circumstances, and each

constitutes negligence and are a proximate cause of Plaintiffs’ damages.

      82.     The tractor-trailer driver, Mr. Feeney, is alleged at material times hereto to

have been an employee, agent, representative and/or servant of Feeney Xpress.

Therefore, under doctrines of respondeat superior, agency, and vicarious liability,

Feeney Xpress is responsible for the negligence of its driver Mr. Feeney. Alternatively,

Feeney Xpress is responsible for the negligence of tractor-trailer driver Mr. Feeney

pursuant to 49 C.F.R. 1057 and various other provisions of the Federal Motor Carrier

Safety Act.

      83.     Defendant Feeney Xpress was negligent by and through the acts and

omissions of its agents, servants, and employees in at least the following respects:

              a)      Failing to properly train its driver(s);
              b)      Failing to establish an adequate safety program to monitor its
                      driver(s);
              c)      Failing to adequately supervise its driver(s);
              d)      Failing to properly qualify its driver(s);
              e)      Failing to establish adequate policies and procedures to adequately
                      enforce policies for its driver(s); and
              f)      Violating the Federal Motor Carrier Safety Act and its regulations.

      84.     Defendant Mr. Feeney Xpress was further negligent in the hiring,

retention, and supervision of driver Mr. Feeney, who was incompetent to operate a

tractor-trailer. Defendant Feeney Xpress was further negligent in the entrustment of the

subject tractor-trailer. Defendant Feeney Xpress had full and actual knowledge that


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Mr. Feeney was incompetent to operate a tractor-trailer, or through the operation of

ordinary prudence would have discovered such incompetence.

       85.    As a direct and proximate result of one or more of the above and

foregoing willful and wanton acts and omissions of Defendants Mr. Feeney and Feeney

Xpress, as set forth herein, Olin Bradley Kicklighter, Jr., deceased, sustained injuries of a

personal, pecuniary, and permanent nature and was injured, both physically and

mentally, and has suffered before his death great physical and emotional pain and

discomfort, and physical and emotional impairment and disability, all of which

ultimately resulted in his death. Olin Bradley Kicklighter, Jr., deceased, prior to his

death, experienced pain and suffering, and disability and disfigurement. Olin Bradley

Kicklighter, Jr., deceased further incurred reasonable and necessary medical, funeral

and burial expenses.

       86.    This action is brought pursuant to the Illinois Survival Statute, 755 ILCS

5/27-6.

       WHEREFORE, Plaintiff, Olin Bradley Kicklighter, III, by and through his

attorneys of record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh,

prays for judgment against Defendants Mr. Feeney and Feeney Xpress, in a dollar

amount sufficient to satisfy the jurisdictional limitations of this Court and such

additional amounts as the Court and Jury shall deem proper for compensatory

damages, plus the costs of this lawsuit.

               COUNT X – NEGLIGENCE WRONGFUL DEATH AS TO
                      MR. FEENEY AND FEENEY XPRESS




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       87.      Now comes Plaintiff Olin Bradley Kicklighter, III, by and through his

attorneys of record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh,

and complaining against Defendants Mr. Feeney and Feeney Xpress states as follows:

       88.      Plaintiff Olin Bradley Kicklighter, III, adopts and realleges paragraphs 14-

20 and incorporates them by reference fully set forth herein.

       89.      That as a direct and proximate result thereof, Olin Bradley Kicklighter, Jr.,

deceased, sustained injuries to his person which ultimately resulted in his death on

December 8, 2011.

       90.      Olin Bradley Kicklighter, Jr., deceased, left surviving him the following

heirs at law:     Hope Kicklighter, daughter; Annie Rose Kicklighter, daughter; Olin

Bradley Kicklighter, III, son.

       91.      That as a result of the negligent acts and/or omissions of Mr. Feeney and

Feeney Xpress, the aforesaid next of kin of Olin Bradley Kicklighter, Jr. have all

sustained great loss of a personal and pecuniary nature, including the loss of society,

companionship, love and affection.

       92.      This action is brought pursuant to Chapter 740, Illinois Compiled Statutes

Annotated, '180/1, et seq., commonly referred to as the “Wrongful Death Act”.

       WHEREFORE, Plaintiff, Olin Bradley Kicklighter, III, by and through his

attorneys of record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh,

prays for judgment against the Defendant, Defendants Mr. Feeney and Feeney Xpress,

in a dollar amount sufficient to satisfy the jurisdictional limitations of this Court and




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such additional amounts as the Court and Jury shall deem proper for compensatory

damages, plus the costs of this lawsuit.


              COUNT XI – NEGLIGENCE SURVIVAL ACTION AS TO
                         FRANKLIN AND RANCHERO

      93.    Now comes Plaintiff Olin Bradley Kicklighter, III, by and through his

attorneys of record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh,

and complaining against Defendants Mr. Franklin and Ranchero states as follows:


      94.    In the operation of the tractor-trailer, Defendant Mr. Franklin and

Ranchero was negligent in at least the following respects:

             a) Failing to keep a proper lookout;
             b) Failing to operate the tractor-trailer in a reasonable and prudent
                manner;
             c) Failing to maintain attention while operating the tractor-trailer;
             d) Operating the tractor-trailer in a reckless manner;
             e) Failing to control speed;
             f) Failing to yield the right of way; and
             g) Failing to take proper evasive action to avoid striking Mr. Kicklighter.

      95.    Each of the above acts and/or omissions were breaches of a duty to act as

a reasonably prudent driver under the same or similar circumstances, and each

constitutes negligence and are a proximate cause of Plaintiffs damages.

      96.    The tractor-trailer driver, Mr. Franklin, is alleged at material times hereto

to have been an employee, agent, representative and/or servant of Ranchero.

Therefore, under doctrines of respondeat superior, agency, and vicarious liability,

Ranchero is responsible for the negligence of its driver Mr. Franklin. Alternatively,

Ranchero is responsible for the negligence of tractor-trailer driver Mr. Franklin



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pursuant to 49 C.F.R. 1057 and various other provisions of the Federal Motor Carrier

Safety Act.

           97.   As a direct and proximate result of such acts and/or omissions

constituting negligence, Mr. Kicklighter sustained injuries to his person, including but

not limited to extreme pain and suffering, ultimately causing his death. Furthermore,

as a direct and proximate result of such acts and/or omissions constituting negligence

all other Plaintiffs have incurred mental anguish, loss of consortium in the past and will

incur them in the future.

           98.   Defendant Ranchero was negligent by and through the acts and omissions

of its agents, servants, and employees in at least the following respects:

                 a)    Failing to properly train its driver(s);
                 b)    Failing to establish an adequate safety program to monitor its
                       driver(s);
                 c)    Failing to adequately supervise its driver(s);
                 d)    Failing to properly qualify its driver(s);
                 e)    Failing to establish adequate policies and procedures to adequately
                       enforce policies for its driver(s); and
                 f)    Violating the Federal Motor Carrier Safety Act and its regulations.

           99.   Defendant Ranchero was further negligent in the hiring, retention, and

supervision of driver Mr. Franklin, who was incompetent to operate a tractor-trailer.

Defendant Ranchero was further negligent in the entrustment of the subject tractor-

trailer.     Defendant Ranchero had full and actual knowledge that Mr. Franklin was

incompetent to operate a tractor-trailer, or through the operation of ordinary prudence

would have discovered such incompetence.




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       100.   As a direct and proximate result of one or more of the above and

foregoing willful and wanton acts and omissions of Defendants Mr. Franklin and

Ranchero, as set forth herein, Olin Bradley Kicklighter, Jr., deceased, sustained injuries

of a personal, pecuniary, and permanent nature and was injured, both physically and

mentally, and has suffered before his death great physical and emotional pain and

discomfort, and physical and emotional impairment and disability, all of which

ultimately resulted in his death. Olin Bradley Kicklighter, Jr., deceased, prior to his

death, experienced pain and suffering, and disability and disfigurement. Olin Bradley

Kicklighter, Jr., deceased further incurred reasonable and necessary medical, funeral

and burial expenses.

       101.   This action is brought pursuant to the Illinois Survival Statute, 755 ILCS

5/27-6.

       WHEREFORE, Plaintiff, Olin Bradley Kicklighter, III, by and through his

attorneys of record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh,

prays for judgment against Defendants Mr. Franklin and Ranchero, in a dollar amount

sufficient to satisfy the jurisdictional limitations of this Court and such additional

amounts as the Court and Jury shall deem proper for compensatory damages, plus the

costs of this lawsuit.

              COUNT XII – NEGLIGENCE WRONGFUL DEATH AS TO
                      MR. FRANKLIN AND RANCHERO




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       102.     Now comes Plaintiff Olin Bradley Kicklighter, III, by and through his

attorneys of record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh,

and complaining against Defendants Mr. Franklin and Ranchero states as follows:

       103.     Plaintiff Olin Bradley Kicklighter, III, adopts and realleges paragraphs 14-

20 of Count II, and incorporates them by reference fully set forth herein.

       104.     That as a direct and proximate result thereof, Olin Bradley Kicklighter, Jr.,

deceased, sustained injuries to his person which ultimately resulted in his death on

December 8, 2011.

       105.     Olin Bradley Kicklighter, Jr., deceased, left surviving him the following

heirs at law:     Hope Kicklighter, daughter; Annie Rose Kicklighter, daughter; Olin

Bradley Kicklighter, III, son.

       106.     That as a result of the negligent acts and/or omissions of Defendants

Mr. Franklin and Ranchero, the aforesaid next of kin of Olin Bradley Kicklighter, Jr.

have all sustained great loss of a personal and pecuniary nature, including the loss of

society, companionship, love and affection.

       107.     This action is brought pursuant to Chapter 740, Illinois Compiled Statutes

Annotated, '180/1, et seq., commonly referred to as the “Wrongful Death Act”.

       WHEREFORE, Plaintiff, Olin Bradley Kicklighter, III, by and through his

attorneys of record, Bellas & Wachowski and Sico, White, Hoelscher, Harris & Braugh,

prays for judgment against the Defendant, Defendants Mr. Franklin and Ranchero, in a

dollar amount sufficient to satisfy the jurisdictional limitations of this Court and such




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additional amounts as the Court and Jury shall deem proper for compensatory

damages, plus the costs of this lawsuit.




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                                        JURY DEMAND

         108. Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs request a jury

trial.



Date: May 16th, 2013.

                                  Respectfully submitted,

                                  BELLAS & WACHOWSKI

                                  BY:         /s/
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                                        KICKLIGHTER, III AND THE ESTATE OF
                                        OLIN B. KICKLIGHTER, JR.



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